                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA, ex rel,
                               )
KRYSTAL SPENCER                )
                               )
    Plaintiff                  )                     No.: 3:13-cv-00233
vs.                            )
                               )
AMPHARM, INC., AMERICAN HEALTH )
COMPANIES, INC. AND            )
TENNESSEE HEALTH               )                     JURY DEMAND
MANAGEMENT, INC.               )
                               )
    Defendants.                )


                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COMES NOW, the parties to this action, by and through counsel, and pursuant to Rule

41(a)(1)(ii) of the Federal Rules of Civil Procedure, and agree and stipulate that the remaining

claims in the above-styled civil action shall be dismissed with prejudice. All undersigned parties

agree that this dismissal with prejudice operates as a full adjudication on the merits for all

purposes and with full preclusive effect. Each party shall bear its own costs, expenses, and

attorneys’ fees.

       The United States Attorney’s Office does not oppose this Joint Stipulation. Nothing

within this Joint Stipulation of Dismissal with Prejudice is intended to apply to the claims of the

United States of America under 31 U.S.C. § 3729(a)(1), which were previously dismissed

without prejudice. (D.E. 47.) The United States Attorney’s Office has reviewed the confidential

settlement agreement between the undersigned parties and does not object to the resolution

between the undersigned parties or dismissal of this action with prejudice as it pertains to any

and all claims alleged by Plaintiff/Relator, including her claims under 31 U.S.C. § 3729(a)(1), 31

U.S.C. § 3730(h), Tennessee Code Annotated § 50-1-304, and Tennessee common law.




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                                       Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was filed electronically on this 27th day of
February, 2017. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties listed below. Parties may access this filing though the Court’s electronic
filing system.

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